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                       UN ITED STA TES D ISTRIC T CO UR T
                       SO U TH ER N D ISTRICT O F FLO R IDA

                     CA SE N O .17-2162I-CIV-KIN G/BECERRA

ROBIN REM IN GTON ,on herown behalfand
a1lotherssim ilarly situated,

       Plaintiff,



 I-IN UM GROU P and A TH ENE AN NU ITY &
 LIFE COM PA N Y,

       Defendants.
                                              /

                FINA L O R DER O F DISM ISSA L W ITH PREJU DIC E

        THIS M ATTER isbeforethe Courton the JointStipulation ofDism issalw ith

 Prejudice(D.E.//42)filedJanuary22,2019,intheabove-styledcase.Accordingly,after

 a carefulreview ofthe record andsitis

        O RDERED ,A DJU DG ED and DECREED as follow s:

        1      The above-styled case ishereby DISM ISSED W ITH PREJUD ICE,and
         .



  each party shallbeartheirow n attorneys'fees and costs.

        2.     A 1lunresolved pending m otions in this case arehereby DEN IED asm oot.

               ThePretrialConferencepreviously setforSeptem ber 6,2019 and the

  Trialpreviously setforD ecem ber 9,2019 arehereby CAN CELED .

         4.    The Clerk shallCLO SE this case.
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      D ONE and ORD ERED in cham bersattheJam esLaw renceK ing FederalJustice

Building and U nited States Courthouse,M iam i,Florida,this 23% day ofJanuary,2019.

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                                            A M ES LAW REN CE
                                            UN ITED STATES D1S        CT JUD GE
 Copies furnished to:
 A llCounselofRecord




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